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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  DONALD J. TRUMP,
                                                          Case No.: 22-CV-81294-AMC
         Plaintiff,

                      v.

  UNITED STATES OF AMERICA,

         Defendant.
                                                    /

                      THE NEWS MEDIA’S JOINT MOTION FOR ACCESS
                      TO UNREDACTED SEARCH WARRANT AFFIDAVIT

         Intervenors American Broadcasting Companies, Inc.; the Associated Press; Bloomberg

  LP; Cable News Network, Inc.; CBS Broadcasting Inc.; Dow Jones & Company, Inc., publisher

  of The Wall Street Journal; the E.W. Scripps Company; The Palm Beach Post, a newspaper

  owned and operated by Gannett Co., Inc.; Gray Media Group, Inc. d/b/a WCJB-TV, WJHG-TV,

  and WWSB-TV; NBCUniversal Media, LLC d/b/a NBC News; The New York Times Company;

  Times Publishing Company, publisher of the Tampa Bay Times; and WP Company LLC d/b/a

  The Washington Post (the “News Media”)1 hereby move for an order further unsealing the

  affidavit of probable cause submitted in connection with the search warrant executed on August

  8, 2022 at Plaintiff Donald J. Trump’s residence at the Mar-a-Lago Club (the “Affidavit”).

         The News Media file this motion in response to Trump’s November 22, 2022 motion

  requesting that the Court order the Government to provide him with an unredacted version of the




  1
   The News Media were previously granted leave to intervene in this proceeding for the limited
  purpose of seeking public access to documents filed under seal. ECF No. 132.
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  Affidavit. ECF No. 189.2 Trump’s motion relies in large part on the First Amendment and

  common law rights of access to judicial records. Id. at 5 & n.6. Of course, those rights belong to

  the general public, not to any individual. See Chi. Tribune Co. v. Bridgestone/Firestone, Inc.,

  263 F.3d 1304, 1311 (11th Cir. 2001) (presumption of access applies to “the media and public”);

  Bright v. Mental Health Res. Ctr., Inc., 2012 U.S. Dist. LEXIS 33929, at *8 (M.D. Fla. Mar. 14,

  2012) (recognizing that “the media often acts as an advocate for the public” in seeking access to

  judicial proceedings). Therefore, if this Court unseals any additional portions of the Affidavit,

  the News Media seek access to those portions of the Affidavit as well.3

         The Government has already recognized the “public’s clear and powerful interest in

  understanding what occurred” in the search at Mar-a-Lago, which “weighs heavily in favor of

  unsealing” as much as possible. USA v. Sealed Search Warrant, No. 22-mj-8332, ECF No. 18 at

  4. Trump’s pending motion confirms that he does not assert a privacy or reputational interest in

  keeping the Affidavit under seal. See ECF No. 189 at 7-9. For these reasons, and those stated in

  their prior motions to unseal the Affidavit, see USA v. Sealed Search Warrant, No. 22-mj-8332,

  ECF Nos. 8, 22, 32, 67, 126, the News Media respectfully request that the Court grant public

  access to the Affidavit to the same extent as it grants access to Trump.




  2
    Magistrate Judge Bruce E. Reinhart, who signed the search warrant on August 5, 2022, has thus
  far determined which portions of the Affidavit should be unsealed under a separate docket. See
  USA v. Sealed Search Warrant, No. 22-mj-8332, ECF Nos. 80, 94, 130. Because Trump filed
  his motion to unseal in the special master proceeding, the News Media have likewise filed their
  motion under this docket. The News Media take no position on whether these motions should be
  adjudicated in this Court or under the original search warrant docket.
  3
    Trump argues that the “protective order in effect in this matter would greatly restrict access” to
  the Affidavit. ECF No. 189 at 10. But the protective order, by its terms, protects only materials
  seized during the execution of the search warrant. See ECF No. 113 at 1. It would not cover the
  Affidavit, which predates the seizure of any materials from Trump’s residence.



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   Dated: November 30, 2022                    Respectfully submitted,

   THOMAS AND LOCICERO PL                      BALLARD SPAHR LLP

   By: /s/ Carol Jean LoCicero                 By: /s/ Charles D. Tobin
       Carol Jean LoCicero (FBN 603030)            Charles D. Tobin (FBN 816345)
       Mark R. Caramanica (FBN 110581)             1909 K Street NW, 12th Floor
       601 South Boulevard                         Washington, DC 20006
       Tampa, FL 33606                             Telephone: 202.661.2218
       Telephone: 813.984.3060                     tobinc@ballardspahr.com
       clocicero@tlolawfirm.com
       mcaramanica@tlolawfirm.com                     Elizabeth Seidlin-Bernstein (pro hac vice)
                                                      1735 Market Street, 51st Floor
       Dana J. McElroy (FBN 845906)                   Philadelphia, PA 19103-7599
       915 Middle River Drive, Suite 309              Telephone: 215.665.8500
       Fort Lauderdale, FL 33304                      seidline@ballardspahr.com
       Telephone: 954.703.3418
       dmcelroy@tlolawfirm.com                     Attorneys for Intervenors the Associated Press,
                                                   Bloomberg LP, Cable News Network, Inc., Gray
   Attorneys for Intervenors The New York          Media Group, Inc., NBCUniversal Media, LLC,
   Times Company, CBS Broadcasting Inc., and       the E.W. Scripps Company, and WP Company
   Times Publishing Company                        LLC


   SHULLMAN FUGATE PLLC                        ATHERTON GALARDI MULLEN &
                                               REEDER PLLC

   By: /s/ Rachel E. Fugate                    By: /s/ L. Martin Reeder, Jr.
       Rachel E. Fugate (FBN 144029)               L. Martin Reeder, Jr. (FBN 308684)
       Deanna K. Shullman (FBN 514462)             1641 Worthington Road, Suite 11
       Minch Minchin (FBN 1015950)                 West Palm Beach, FL 33409
       2101 Vista Parkway, Suite 4006              Telephone: 561.293.2530
       West Palm Beach, FL 33411                   martin@athertonlg.com
       Telephone: 813.935.5098
       rfugate@shullmanfugate.com              Attorneys for Intervenor The Palm Beach Post
       dshullman@shullmanfugate.com
       mminchin@shulmanfugate.com

   Attorneys for Intervenors Dow Jones &
   Company, Inc. and American Broadcasting
   Companies, Inc.




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